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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION


 RACHEL BAIS-TORRES,
                                                             Criminal Case No. 11-20537
          Petitioner,                                        Civil Case No. 14-14859

 v.                                                          Honorable John Corbett O’Meara

 UNITED STATES OF AMERICA,

          Respondent.
                                                      /

               OPINION AND ORDER DENYING PETITIONER’S MOTIONS

       This matter came before the court on the following pro se motions filed by petitioner Rachel

 Bais-Torres: 1) Motion Under § 2255 to Vacate, Set Aside or Correct Sentence, filed December 22,

 2014; 2) Motion for Discovery, Evidentiary Hearing, and Appointment of Counsel, filed January

 29, 2015; 3) Application to Proceed Without Paying Fees or Costs, filed January 29, 2015; and 4)

 Motion in Supplement to Application to Proceed In Forma Pauperis, filed January 29, 2015. The

 government filed a single response to all the motions March 9, 2015; and Petitioner filed a reply

 brief April 21, 2015. No oral argument was heard.

                                     BACKGROUND FACTS

       Petitioner Rachel Bais-Torres pleaded guilty to participating in a heroin conspiracy, stipulating

 in her plea agreement that she trafficked over 32 kilograms of heroin. Her proposed Sentencing

 Guideline range was initially 135-168 months, later increasing to 168-210 months after the probation

 department discovered additional criminal history points.

       At sentencing, the government moved for a downward departure under U.S.S.G. § 5K1.1 and

 18 U.S.C. § 3553(3), to reflect Bais-Torres’ substantial assistance. The government recommended
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 that the court adopt the new Guideline range of 67-84 months and sentence her to the very bottom

 of that range. The court granted the motion for downward departure and sentenced Petitioner to 67

 months in prison.

       Petitioner Bais-Torres has filed a motion to vacate, set aside or correct sentence under 28

 U.S.C. § 2255. She does not challenge her conviction; rather, she contends that her attorney's

 performance was so deficient that it entitles her to a lower prison term. Petitioner has filed separate

 motions requesting an evidentiary hearing, discovery, and appointment of counsel. All of her

 motions refer to her § 2255 motion as the sole basis for that relief.

                                       LAW AND ANALYSIS

       A defendant claiming ineffective assistance of counsel must establish both constitutionally

 deficient performance--that "counsel made errors so serious that counsel was not functioning as the

 'counsel' guaranteed the defendant by the Sixth Amendment," and prejudice--"that the deficient

 performance prejudiced the defense." Strickland v. Washington, 466 U.S. 668, 687 (1984).

       In this case Petitioner cannot show that her attorney was ineffective during negotiations

 regarding her plea and cooperation agreements. The drug quantity in the plea agreement reflected

 only 32 kilograms of heroin, the same quantity Bais-Torres later admitted to in open court. The

 cooperation agreement resulted in a sentence that was 68% below the top of her final Guideline

 range and far below what most major drug traffickers receive. Petitioner's counsel negotiated a good

 deal, and she has failed to show how a different attorney could have succeeded in negotiating a

 better plea deal or cooperation agreement. See Ross v. United States, 339 F.3d 483, 492 (6th Cir.

 2003).




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       Petitioner's remaining complaints regarding her attorney are without merit, as her attorney did

 raise all of the sentencing arguments Petitioner claims her attorney should have raised. Her attorney

 filed a lengthy sentencing memorandum and spoke for her client at length at the sentencing hearing.

 Her attorney emphasized that Petitioner's cooperation merited a more significant downward

 departure than the government had recommended and highlighted Petitioner's post-arrest

 rehabilitation--things she claims her attorney should have done.

       Nothing in Petitioner's § 2255 request suggests a type of factual dispute that would necessitate

 an evidentiary hearing or additional discovery. A § 2255 petitioner "is not entitled to a hearing ...

 if the files and records of the case conclusively show that [she] is not entitled to relief." See Ross,

 339 F.3d at 490. Finally, Petitioner's request for appointment of counsel is rendered moot by the

 court's May 18, 2015 order.

                                               ORDER

       It is hereby ORDERED that petitioner Rachel Bais-Torres' December 22, 2014 Motion Under

 § 2255 to Vacate, Set Aside or Correct Sentence is DENIED.

       It is further ORDERED that Petitioner's January 29, 2015 Motion for Discovery, Evidentiary

 Hearing, and Appointment of Counsel is DENIED.

       It is further ORDERED that Petitioner's January 29, 2015 Application to Proceed Without

 Paying Fees or Costs is DENIED.

       It is further ORDERED that Petitioner's January 29, 2015 Motion in Supplement to

 Application to Proceed In Forma Pauperis is DENIED.


                                                s/John Corbett O'Meara
                                                United States District Judge
 Date: June 17, 2015

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       I hereby certify that a copy of the foregoing document was served upon the parties of record
 on this date, June 17, 2015, using the ECF system and/or ordinary mail.


                                              s/William Barkholz
                                              Case Manager




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